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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
             vs.                                 )      Cause No.     2:05-CR-143
                                                 )
RUDOLFO HEREDIA                                  )

                                          ORDER

      On October 11, 2005, RUDOLFO HEREDIA, appeared before Paul R. Cherry, United

States Magistrate Judge, for purposes of Arraignment. A jury trial in the above-named cause

is hereby scheduled for December 12, 2005 at 8:30 a.m. (C.S.T.) as a primary setting before

the Honorable PHILIP P. SIMON, United States District Court Judge.


                                     I. DISCOVERY

      Within seven (7) days after the date of this order, the attorney for the United States and

the Defendant's attorney shall confer, and upon request, the Government shall:

      1.     Permit Defendant's attorney to inspect or copy any written or recorded
             statements or confessions made by the Defendant, or copies thereof, within
             the possession, custody, or control of the Government;

      2.     Permit Defendant's attorney to inspect or copy any relevant results or
             reports of physical or mental examinations, and of scientific tests or
             experiments made in connection with the case, or copies thereof, within the
             possession, custody or control of the Government;
      3.     Permit Defendant's attorney to inspect or copy any relevant
             recorded testimony of the Defendant before a grand jury;



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       4.     Permit Defendant's attorney to inspect or copy books, papers,
              documents, tangible objects, buildings or places which are within the
              possession, custody or control of the Government as provided in Rule
              16(a)(1)(C);

       5.     Permit Defendant's attorney to inspect or copy the Federal Bureau of
              Investigation Identification Sheet indicating the Defendant's prior
              criminal record;

       6.     Permit Defendant's attorney to inspect or copy any exculpatory or
              mitigating evidence;

       7.     Be permitted any reciprocal disclosure provided in Rule 16 which is
              in the possession, custody or control of the Defendant or his attorney.

       If any party declines upon request to provide the above discovery, the declination
must be in writing and must specify the reasons disclosure is declined.
       In the event the Defendant moves for additional discovery or inspection, his motion
shall be filed within the time set for pretrial motions and shall contain:

       1.     A statement that a conference was held and the date;

       2.     The name of the government attorney with whom the conference was
              held; and

       3.     A statement that agreement could not be reached concerning the
              discovery matters which are the subject of the motion.



                                II. PRETRIAL MOTIONS

       All pretrial motions specified in FED. R. CRIM. P. 12(b), including, but not

limited to:

                1.     motion for severance;

                2.     motion for a bill of particulars or more definite statement;

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              3.     motion to strike any portion of the indictment;

              4.     motion to dismiss the indictment or any portion thereof; and

              5.     motion to suppress evidence

must be filed with the clerk of the district court within thirty (30) days following the

date of arraignment. The government MUST file a written response within ten days:

failure to do so will be deemed the government’s admission that the relief requested by

defendant should be granted.

       Any and all other pretrial motions by either the defendant or the government,

including, but not limited to, motions in limine, shall be filed no later than the date of

the final pretrial conference. The presiding judicial officer shall establish a briefing

schedule for the motion at the final pretrial conference. Any motion filed after the date

of the final pretrial conference will be summarily denied unless the memorandum in

support of the motion establishes good cause why the motion could not have been filed

by the final pretrial conference deadline.



                      III.   FINAL PRETRIAL CONFERENCE

       This matter is set for an in-person Final Pretrial Conference on December 2,

2005 at 9:15 a.m. (C.S.T.) before Magistrate Judge Paul R. Cherry, Magistrate

Courtroom, Suite 3500, which will require the attendance of lead counsel in-person.




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Prior to the pretrial conference, the parties shall meet and, to the extent possible, shall

agree upon a complete set of jury instructions with authorities.

On or before the date of the pretrial conference, the parties shall submit to the

court the following:

       1.     A complete set of proposed final jury instructions with
              authorities upon which they agree, a separate set of
              proposed jury instructions upon which they are unable to
              reach agreement and their listed reasons for disagreement;
              however, the defense will not be required to provide an
              instruction on their theory of the case until trial;

       2.     Proposed voir dire questions with each question on a separate
              sheet of paper.


To the extent that this order diverges from the requirements of Local Criminal Rule
110.1, this order shall supersede.
       At the pretrial conference the parties should also be prepared to discuss and
consider:
       1.     The general jury instructions given by the trial court;
       2.     Any special jury instructions requested by either party (Local
              Criminal Rule 110.1);

       3.     Proposed voir dire questions;

       4.     What facts, if any, that can be stipulated;

       5.     The expected length of trial;

       6.     The status of any pending motions or whether any additional
              motions are anticipated;

       7.     The identification and admissibility of exhibits;


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     8.      Any anticipated legal or evidentiary problems -- e.g. R. 404(b);

     9.      The status of any plea negotiations between the parties and
             what reasons, if any, prevent these negotiations from being
             completed and filed with the District Court no later than five
             (5) working days before trial (Local Criminal Rule 101.1).
             Late pleas may result in the imposition of jury costs against
             the delaying party(ies) and/or counsel by the District Court.

     10.     Jencks Act materials;

     11.     Brady v. Maryland materials;

     12.     Tape recordings;

     13.     Expert witnesses;

     14.     Admissibility of prior convictions for impeachment purposes,
             R. 609(b);

     15.     Confessions or admissions, Jackson v. Denno, 378 U.S. 368 (1964);

     16.     Bruton problems, 391 U.S. 123 (1968);

     17.     Echeles problem, 352 F.2d 892 (7th Cir. 1965);

     18.     Santiago problems, 582 F.2d 1128 (7th Cir. 1978);

     19.     Pre-marking of exhibits and stipulations as to admissibility;

     20.     Number of peremptory challenges and manner of exercising same in
             case of joint defendants;

     21.      Identity of witnesses (a listing of witnesses in alphabetical order
           providing first and last names of each witness is due on morning
           of trial), and;


   22.     Order of questioning and presenting defenses among joint Defendants.

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      23.   Arrangements to have any Defendant in civilian clothes for trial. If
            Defendant is in custody, defense counsel must make sure civilian
            clothes are delivered to the Marshal’s office at least one business
            day before the start of trial.

      ENTERED this 11th day of October, 2005.

                                       s/Paul R. Cherry
                                       United States Magistrate Judge


CC:   AUSA
      Defense Counsel
      US Marshal
      US Probation
      Judge Simon




      [REVISED 9/13/05]




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